     Case 1:07-cr-00044-LG-JCG       Document 79     Filed 04/29/16   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 1:07CR44-LG-JCG-1

EDMOND C. BROWN

      ORDER DENYING MOTION FOR SENTENCE CLARIFICATION

      BEFORE THE COURT is defendant Edmond C. Brown’s Motion [78] for

Sentence Clarification. Brown asserts that the Bureau of Prisons has calculated his

sentence in this case incorrectly, because it should have begun to run on July 18,

2007. Having reviewed the record and obtained a response from the United States

Probation Office, the Court finds that no additional clarification is necessary.

      At Brown’s sentencing hearing, the Court stated:

      It is the judgment of the Court that you’re hereby committed to the
      custody of the Bureau of Prisons to be imprisoned for a term of 168
      months as to Count 1S. The term of imprisonment imposed by this
      judgment shall run partially consecutive and partially concurrent to
      the currently-being-served term in Docket Number 1:96CR57. The
      sentence that I am imposing today is to begin on
      January 9, 2010.

(Addendum to Tr. of Sentencing 15, ECF No. 63) (emphasis added).

      The 168 month sentence imposed by the Court was subsequently reduced

twice to where it now stands at 120 months. It is clear that the Bureau of Prisons

was ordered to calculate Brown’s sentence in this case beginning on January 9,

2010. If Brown were to serve his entire sentence, he would be released on January

9, 2020. According to the Sentence Monitoring Computation Data sheet attached to

Brown’s motion, he is currently projected for release on October 31, 2018, if good
     Case 1:07-cr-00044-LG-JCG        Document 79   Filed 04/29/16      Page 2 of 2




conduct time applies. (Def. Mot. Ex. D, ECF No. 78-4). Provided he is not

incarcerated longer than 120 months, Brown’s precise release date is subject to

Bureau of Prisons rules; it is not a sentencing matter for the Court.

      IT IS THEREFORE ORDERED AND ADJUDGED that defendant

Edmond C. Brown’s Motion [78] for Sentence Clarification is DENIED.

      SO ORDERED AND ADJUDGED this the 29th day of April 2016.


                                 s\   Louis Guirola, Jr.
                                 Louis Guirola, Jr.
                                 Chief U.S. District Judge




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